                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                              WINCHESTER DIVISION

DAVID EARL ROACH,                     )
                                      )
      Plaintiff,                      )
                                      )    Case No. ______________________
v.                                    )
                                      )
SANFORD, L.P. and NEWELL              )    (Removed from the Circuit Court for
RUBBERMAID, INC.,                     )    Bedford County, Tennessee
                                      )    at Shelbyville,
      Defendants.                     )    Case No. 12379)
                                      )
                                      )
                                      )
______________________________________________________________________________

                            NOTICE OF REMOVAL
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        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332 and 1441, Defendants

Sanford, L.P. (“Sanford”) and Newell Rubbermaid, Inc. (“Newell”) hereby provide notice of

removal of this action.

        1.     This action was commenced in the Circuit Court of Bedford County, Tennessee

on November 21, 2011, styled David Earl Roach v. Sanford, L.P. and Newell Rubbermaid, Inc.,

Case No. 12379. A copy of all process and pleadings filed in the Circuit Court of Bedford

County, Tennessee, is attached hereto.

        2.     Defendants Sanford and Newell were served with the Summons and the

Complaint on November 28, 2011. This Notice of Removal is filed within thirty days after

service of process on Defendants.

        3.     Plaintiff is a citizen and resident of Shelbyville, Tennessee. (Compl. ¶ 1).




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        4.    Defendant Sanford is a limited partnership formed in Illinois and its principal

place of business is 2711 Washington Blvd, Bellwood, IL 60104. (Compl. ¶ 2).

        5.    Defendant Newell is a for profit corporation incorporated in Delaware and its

principal place of business is Three Glenlake Parkway, Atlanta, GA, 30328. (Compl. ¶ 3).

        6.    Based on a fair reading of the Complaint, the amount in controversy in this action

exceeds $75,000. Plaintiff is seeking “compensatory damages, consequential damages, and

incidental damages, including but not limited to emotional damages for future lost pay and lost

benefits . . . in the amount of $500,000.00” and punitive damages in the amount of

$1,500,000.00. (Compl. Prayer ¶ 2-3).

        7.    This Court has jurisdiction under the provisions of 28 U.S.C. § 1332 and this

matter is one which may be removed to this Court, pursuant to the provisions of 28 U.S.C.

§ 1441, because complete diversity of citizenship exists between the parties and the amount in

controversy exceeds the jurisdictional minimum.

        8.    Venue is proper pursuant to 28 U.S.C. § 1441(a) because this judicial district

includes Bedford County, Tennessee.

        9.    Contemporaneously herewith, a true and correct copy of this Notice of Removal

will be filed with the Circuit Court of Bedford County, Tennessee.

                                      s/ Marcus M. Crider
                                      Marcus M. Crider (TN BPR 018608)
                                      Brian M. Clifford (TN BPR 029778)
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
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                                      Attorneys for Defendants



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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served via the Court’s
electronic filing system:

        H. Thomas Parsons
        101 W. Main St.
        Manchester, TN 37355

        Attorney for Plaintiff

on this 28th day of December, 2011.


                                            s/ Marcus M. Crider




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